Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 1 of 12 - Page ID#: 121




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                           NORTHERN DISTRICT at COVINGTON
                              CASE NO. 2:10-cv-0051-DLB-JGW


 RICHARD WESLEY                                                             PLAINTIFF

 v.

 ALISON CAMPBELL, ET. AL.                                                   DEFENDANTS


       PLAINTIFF’S RESPONSE TO DEFENDANTS’ CABINET FOR FAMILIES AND
      CHILDREN AND ALISON CAMPBELL IN HER OFFICIAL CAPACITY’S JOINT
      MOTION TO DISMISS FOR LACK OF JURISDICTION AND JOINT MOTION TO
                  DISMISS ON THE MERITS UNDER FRCP 12 (b) (6)

         Plaintiff Richard Wesley, through counsel hereby files his response in opposition to the

 Defendants Cabinet for Families and Children (hereinafter Cabinet) and Alison Campbell’s joint

 motion to dismiss for lack of jurisdiction and on the merits. Defendants’ motion must be

 GRANTED IN PART AND DENIED IN PART on the grounds contained within the attached

 memorandum.

         Respectfully submitted,



                                                      s/Paul J. Hill___________

                                                      Paul J. Hill (84563)
                                                      231 Scott St. Suite 1A
                                                      Covington, Ky. 41011
                                                      (859) 491-8889
                                                      (859) 491-5544 Fax
                                                      Pauljhillesquire@aol.com
                                                      Attorney for Plaintiff
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 2 of 12 - Page ID#: 122




                                  CERTIFICATE OF SERVICE

         I, Paul J. Hill, hereby certify that on the 7th day of May, 2010 I electronically filed the
 foregoing with the clerk of the court by using the CM/ECF system, which will send a notice of
 electronic filing to:

 D. Brent Irvin Esq.
 Deputy General Counsel
 Attorney for Cabinet for Health and Family Services
 Office of Legal Services
 275 East Main St. 5W-B
 Frankfort, Ky. 40621
 Brent.Irvin@ky.gov

 And

 Suzanne Cassidy, Esq.
 25 Crestview Hills Mall Rd. Suite 201
 P.O. Box 17411
 Crestview Hills, Ky. 41017
 Attorney for Dr. Anthony Ross
 And

 Frank Warnock, Esq.
 Fwarnock@Covingtonky.gov
 Attorney for Joanne Rigney



                                                               s/ Paul J. Hill______
                                                               Paul J. Hill, Esq.
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 3 of 12 - Page ID#: 123




          PLAINTIFF’S MEMORANDUM IN OPPOSITION TO STATE DEFENDANTS’
                         JOINT MOTION TO DISMISS

        The Plaintiff, Richard Wesley, by and through counsel, and for his response to

 Defendants’ motion for Summary Judgment states as follows:

 I.     STATEMENT OF THE FACTS

        Plaintiff Richard Wesley was, at the time of the events described herein, a 45 year old

 man who was employed as a Counselor at 6th District Elementary School in Covington,

 Kentucky. He had previously obtained his Masters Degree in Social Work from the University

 of Cincinnati and had devoted the majority of his adult life to working with and helping troubled

 children. He was hired to work at 6th District on a part time basis during the 2007-08 school year

 and was hired full time for the 2008-09 school year as Counselor. His job as counselor required

 him to interact with children from Pre-K through fifth grade and help them with problems they

 were experiencing in any aspect of their lives.

        On February 5, 2009, J.S., a seven year old boy, was having a rather significant problem.

 Another teacher observed J.S. attempting to suffocate himself by stuffing wristbands into his

 nose and mouth. Wesley was aware that J.S. had rather significant family problems at home that

 were manifested through increasingly bizarre behavior at school. J.S. had spent two weeks in the

 Psychological Wing at Mercy Hospital in 2008 and it is believed that he had been removed from

 his home by motion of the Cabinet because of dependency, neglect, or abuse.          Prior to the

 February 5, 2009 episode, Wesley had previously attempted to set up appointments at NorthKey

 Community Care in the hope that J.S. might be evaluated, diagnosed, and treated. On each of

 these occasions, J.S.’s mother, M.S., failed to take him to the appointment.

        The February 5, 2009 incident was concerning to the degree that Wesley called M.S. and
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 4 of 12 - Page ID#: 124




 insisted that he would either take J.S. to the appointment at NorthKey himself or would follow

 her to make sure she brought him this time. Just before J.S. left with his mother in a cab headed

 to Northkey, Wesley told J.S. that it was important to tell the Counselor everything that was

 happening to him, including everything at home. Wesley followed the cab in his car for the short

 drive to NorthKey. Upon arriving at NorthKey, M.S., busted out of the car saying, “I know what

 you told J.S.“ and “You are going to lose your job”. Wesley learned later that day, that M.S. had

 claimed that J.S. alleged that Wesley had sexually abused and sodomized him. He was told to go

 home from his job that same day by Dr. Ross, the Principal at 6th District.

        This set in motion the series of events that are the subject matter of this lawsuit.

 Defendant Campbell “investigated’ the case and “substantiated the abuse” without conducting an

 interview with Wesley. On March 19, 2009, Campbell, on behalf of the Defendant Cabinet for

 Health and Family Services (the Cabinet) mailed her “Substantiated Investigation Notification

 Letter” to Dr. Ross. Based upon that letter from Campbell, Wesley was terminated from his job

 at 6th District by two letters (dated March 25 and March 26, 2009) mailed to Wesley by 6th

 District Director of Personnel and Administration, Ken Ellis. Wesley appealed the Substantiated

 Abuse finding and that finding was ultimately voluntarily changed to “unsubstantiated” by the

 Cabinet at the Administrative Appeal hearing conducted on January 11, 2010. At that hearing,

 The Cabinet did not call one witness to support or explain its handling of this case.

        Wesley was also criminally charged and arrested. His criminal case ended when a

 Kenton County Grand Jury determined that the case lacked probable cause for an indictment.

 Plaintiff has also alleged that Dr. Ross unlawfully disseminated the report of the alleged abuse.

 Neither the criminal charge nor the unlawful dissemination are the subject of this motion.
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 5 of 12 - Page ID#: 125




 2. DEFENDANTS’ MOTION

        The Cabinet and Campbell in her official capacity (State Defendants) have moved to

 dismiss all of Plaintiff’s claims against them based upon Sovereign Immunity. Going farther, the

 State Defendants have moved to dismiss the entirety of Plaintiff’s Complaint on the merits of the

 case. Despite the fact that he does not represent any of these Defendants, Counsel for the State

 Defendants has also moved to dismiss Plaintiff’s claims made against Defendant Alison

 Campbell individually (who he does not represent), Covington Police Officer Joanne Rigney,

 both individually and in her official capacity (who he does not represent), and 6th District School

 Principal Anthony Ross, both individually and in his official capacity (who he does not

 represent). Counsel for the State Defendants has done this because he contends that it would be

 a more “straightforward” way to resolve the entire controversy and this would “promote judicial

 efficiency”. Plaintiff submits that, while it certainly would be “straightforward” and “efficient”

 to dismiss the entirety of Plaintiff’s Complaint prior to permitting him to complete any

 discovery, it would also be fundamentally unfair and contrary to established law to do so.

 A. SOVEREIGN IMMUNITY.

         Plaintiff concedes that he is unable at this time to contest the State Defendants’

 Sovereign Immunity defense and has notified counsel for state Defendants that he will agree that

 the Cabinet and Defendant Campbell in her official capacity should be dismissed. Plaintiff has

 filed a motion to amend his Complaint to include a claim against a John Doe defendant defined

 as a person employed by the Cabinet and responsible for the supervision of Campbell as well as

 the person in charge of the disposition of the Cabinet’s case against the Plaintiff. By doing so

 Plaintiff will be able to address through discovery the training and/or supervisory issues within
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 6 of 12 - Page ID#: 126




 the Cabinet that may have led to this result.

 B. MOTION TO DISMISS PURSUANT TO 12(b)(6).

        When analyzing the sufficiency of a complaint, it is well settled that a complaint should

 not be dismissed unless it appears beyond doubt that the plaintiff can prove no set of facts in

 support of his claim which would entitle him to relief. Conley v. Gibson,355 U.S. 41, 45-46

 (1957). Courts shall construe the complaint liberally in the plaintiff’s favor and accept as true

 all factual allegations and permissible inferences therein. Lillard v. Shelby County Bd. Of

 Education, 76 F.3d 716, 724 (6th Cir.1996). Plaintiff has sufficiently pled all of his claims as

 follows.

  COUNT I:

        Plaintiff has alleged that Covington Police officer Defendant Joanne Rigney, acting under

 the color of state law, either intentionally included false information or intentionally excluded

 relevant information in her affidavit requesting a warrant for Plaintiff’s arrest. Plaintiff has

 alleged that if Rigney would have included the relevant information or not included the false

 information or both, the warrant would have been lacking in probable cause and would not have

 been signed. As a direct result of Rigney’s conduct, Plaintiff was deprived of his constitutional

 right to be free from an unlawful arrest. When an affidavit contains false statements or material

 omissions, the question becomes whether the corrected affidavit, minus its false statement or

 omissions is sufficient to establish probable cause. Mckinley v. City of Mansfield, 404 F.3d 418,

 444-445 (6th Cir. 2005). Plaintiff has properly alleged a violation of 42 U.S.C. Section 1983

 culminating in his wrongful arrest.
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 7 of 12 - Page ID#: 127




 COUNT II:

         Plaintiff’s Count II claims a violation of his Due process right as guaranteed under the

 14th Amendment. Since the Cabinet is going to be dismissed based upon Sovereign Immunity,

 Plaintiff will address Campbell’s conduct in response to the motion to dismiss. The state

 defendants have correctly stated the law in regard to this analysis. The Court must first decide

 what property interest has been interfered with and then examine whether procedures attendant

 upon that deprivation were constitutionally sufficient. (MTD p.12).

 a. Plaintiff lost “property”

         State Defendants have alleged that Plaintiff “did not lose any property” and therefore can

 not satisfy the first prong of this test. Besides the obvious damage to his reputation and the

 stigma attached to being labeled a “child abuser”, Plaintiff has sufficiently pled that he was hired

 to work on a full time basis at 6th District for the “school year that commenced in August 2008”

 (Complaint Par. 10). Plaintiff was terminated from that position effective March 23. (Plaintiff’s

 exhibit 1 attached hereto and also see Plaintiff’s motion to amend complaint). Plaintiff has

 specifically pled that he lost his job as a result of Campbell’s conduct. (Complaint par. 93 and

 95).   An employee enjoys a property interest in his or her employment for the duration of a

 fixed-term employment contract. Bailey v. Floyd County Bd. Of Educ. By and Through Towler,

 106 F.3d 135, 143 (6th Cir. 1997) citing Ramsey v. Whitley County Board of Education, 844

 F.2d 1268, 1274 (6th Cir.1988). Since Plaintiff was fired from his job prior to the expiration of

 the school year his “property interest” was “interfered with” due to Campbell’s Conduct. As

 such Plaintiff has sufficiently satisfied the first prong of the test.

 b. Wesley received “no process”.
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 8 of 12 - Page ID#: 128




        On the morning of February 5, 2009, Rick Wesley was happily employed at 6th District.

 His job as a counselor for children was the only job that he ever wanted to perform. He had

 obtained his Masters Degree in the field of Social Work and had been nominated for a national

 award for his work and had been featured in the local newspaper for the way he had been able to

 help children. He had a contract with 6th District for the 2008-2009 school year and had been

 promised to be hired back the following year.

        Approximately six weeks later, Wesley was fired from his job (on March 23, 2010) and

 labeled a child sex abuser. Rick would tell you that he would rather have been charged with

 murder. He tried, but was denied the opportunity to address these allegations. Prior to

 Campbell’s “Substantiated abuse” finding of March 19, 2009, he had not been able to confront or

 even learn of the specific allegations made against him. He has never been able to view the tape

 of J.S. in which the allegations against him were supposedly made. The administrative hearing

 that Wesley received was conducted more than 11 months after the allegations were made (on

 January 11, 2010) and it was only then that the Cabinet “voluntarily” changed the abuse

 allegation to “unsubstantiated”. Unfortunately, the damage had already been done to Wesley.

        In this Circuit a § 1983 plaintiff may prevail on a procedural due process claim by either

 (1) demonstrating that he is deprived of property as a result of established state procedure that

 itself violates due process rights; or (2) by proving that the defendants deprived him of property

 pursuant to a "random and unauthorized act" and that available state remedies would not

 adequately compensate for the loss. Maceone v. MJW, Inc., 951 F.2d 700, 706 (6th Cir. 1991).

 Due process is a flexible concept that generally requires some type of hearing prior to a state's

 deprivation of an individual's liberty or property. Id. Citing Zinermon v. Burch, 494 U.S. 113
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 9 of 12 - Page ID#: 129




 (1985).

           At this early stage of the proceedings Plaintiff has not been able to conduct any discovery

 and is therefore at a significant disadvantage in being forced to determine which of the two

 possible theories of recovery is appropriate in this case. Plaintiff has no idea whether conduct of

 Campbell was “random and unauthorized” or if her behavior was consistent with a “state

 procedure that itself violates due process rights”. There is, however, no doubt that Plaintiff was

 fired and accused of having sexually abused a child without any hearing at all.

           Plaintiff submits that he has sufficiently pled a due process violation resulting in the loss

 of his property. After conducting discovery, Plaintiff will be able to more specifically address

 these issues.

 COUNT III.

           Plaintiff has alleged that Campbell violated 922 KAR 1:330, Section 7 (2) ©, and (d) by

 failing to interview Wesley as well as other “collateral sources“. This is a Kentucky

 administrative Regulation that establishes duties for social workers investigating allegations of

 abuse in a school setting. Interviewing Wesley, therefore, was a “ministerial” as opposed to a

 “discretionary” act. Because Campbell failed to interview Wesley she is not entitled to Qualified

 Immunity. The wrongful performance of a ministerial act can subject a public officer or

 employee to liability for damages. Yanero v. Davis, 65 S.W.3d 510, 523 (Ky. 2001). Plaintiff

 has properly pled a claim for damages in this Count.

 COUNT IV.

           Plaintiff’s Count IV is against the Cabinet herein is going to be dismissed based upon

 Sovereign Immunity.
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 10 of 12 - Page ID#: 130




  COUNT V.

         Plaintiff has alleged that both Rigney and Campbell conducted a grossly negligent

  investigation into the allegations that were made against Wesley and that their investigation rose

  to the level of bad faith. Although, the state defendants have alleged in their motion that Rigney

  and Campbell owed no duty to Wesley (MTD 20-23), Rigney has admitted in her Answer that

  “she has a duty to conduct an investigation that complies with the guidelines of the Covington

  P.D. and Kentucky law”. (Rigney Answer par. 24). To argue that Campbell did not owe a

  similar duty is ludicrous. Again, at this early stage of the case, Plaintiff is only aware that

  Campbell did not interview him and that the result she reached was outrageous. Discovery will

  shed light on other aspects of her investigation that were negligent. This Count was sufficiently

  pled and should not be dismissed.

  COUNT VI .

         This claim is against Anthony Ross who has filed his own motion to dismiss.

  COUNT VII.

         Plaintiff has properly pled the elements necessary for a claim of Outrageous Conduct.

  Upon conducting discovery, Plaintiff will be able to address the specific conduct (besides failing

  to interview him) that caused Campbell’s conduct to qualify as “outrageous”.

  3. CONCLUSION:

         For the foregoing reasons, Defendants Cabinet for Health and Family Services and

  Alison Campbell in her official capacity as a Social Service Worker with the Kentucky Cabinet

  for Health and Family Services should be dismissed from the Lawsuit pursuant to Sovereign

  Immunity. The Balance of this motion should be Denied.
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 11 of 12 - Page ID#: 131




                                                        Respectfully submitted,

                                                        s/Paul J. Hill___________
                                                        Paul J. Hill (84563)
                                                        231 Scott St. Suite 1A
                                                        Covington, Ky. 41011
                                                        (859) 491-8889
                                                        (859) 491-5544 Fax
                                                        Pauljhillesquire@aol.com
                                                        Attorney for Plaintiff




                                  CERTIFICATE OF SERVICE


          I, Paul J. Hill, hereby certify that on the 7th day of May, 2010 I electronically filed the
  foregoing with the clerk of the court by using the CM/ECF system, which will send a notice of
  electronic filing to:

  D. Brent Irvin Esq.
  Deputy General Counsel
  Attorney for Cabinet for Health and Family Services
  Office of Legal Services
  275 East Main St. 5W-B
  Frankfort, Ky. 40621
  Brent.Irvin@ky.gov

  And

  Suzanne Cassidy, Esq.
  25 Crestview Hills Mall Rd. Suite 201
  P.O. Box 17411
  Crestview Hills, Ky. 41017
Case: 2:10-cv-00051-DLB-JGW Doc #: 13 Filed: 05/07/10 Page: 12 of 12 - Page ID#: 132




  Attorney for Dr. Anthony Ross
  And

  Frank Warnock, Esq.
  Fwarnock@Covingtonky.gov
  Attorney for Joanne Rigney



                                                   s/ Paul J. Hill______
                                                   Paul J. Hill, Esq.
